Case 2:05-cr-20236-.]DB Document 6 Filed 06/22/05 Page 1 of 2 Page|D 6
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UNITED STATES DISTRICT COURT

WESTERN DISTRICT oF TENNESSEE 95 JUH 22 Pi”l 3’ ‘ 5

Western Division i,`_l_ 4 93 ';‘3@;_10

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UNITED sTATEs oF AMERICA "r""'-“‘ """‘” :N' ME'M‘S
-vs- Case No. 2:05cr20236-B

BILLY GENE WILLIAMS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accerdingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DONE and ORDERED in 167 North Main, Memphis, this a Q~ day of June, 2005.

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' T‘U M. PHAM
UNITED STATES MAGISTRATE IUDGE

 

Copies furnished to:

United States Attomey

United States Marshal

Pretrial Services Off`lce

Assistant F ederal Public Defender
Intake

BILLY GENE WILLIAMS

Th\s document entered on the docket she t n eo£njllance (§
with Ru|e 55 andfor 32(b) FRCrP on ig gif&§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20236 Was distributed by faX, mail, cr direct printing on
June 22, 2005 to the parties listed.

 

 

PDA

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l\/lemphis7 TN 38103

David Charles Hem'y

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honcrable J. Breen
US DISTRICT COURT

